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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )                8:15CB1
                                              )       Violation No. 3159285 NE6
                      Plaintiff,              )
                                              )
               vs.                            )
                                              )
DONALD D. MILLER,                             )                  ORDER
                                              )
                      Defendant.              )


         The government’s Motion to Continue (Filing No. 3) is granted.
         IT IS ORDERED that the Initial Appearance is continued to February 24, 2015, at
9:00 a.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
         Since this is a criminal case, the defendant must be present unless excused by the
Court.
         DATED this 21st day of January, 2015.


                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
